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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________

SILVON S. SIMMONS,
                                                            ORDER
                                Plaintiff,
                                                            17-CV-6176G
               v.

JOSEPH M. FERRIGNO, II, et al.,

                        Defendants.
_______________________________________



               By order dated April 15, 2022, this Court granted in part and denied in part a

motion filed by Silvon S. Simmons (“Simmons”) to compel, for sanctions, for an extension of

the scheduling order, and for rulings regarding his expert disclosures. (Docket ## 102, 114). In

accordance with that Order, by letter dated April 19, 2022, counsel for the City of Rochester, and

its employees Joseph M. Ferrigno, II, Samuel Giancursio, Mark Wiater, Christopher Muscato,

Robert Wetzel, and Michael L. Ciminelli (collectively, “City Defendants”), informed the Court

that the parties had agreed on a schedule for the depositions of Stefanie Conte, Laszlo Tordai,

Michael Ciminelli, and Brandon LaSage and that the plaintiff and City defendants had agreed to

an amount for reimbursement of plaintiff’s fees and costs in seeking to compel those depositions.

Accordingly, it is hereby

               ORDERED, that the depositions of Stefanie Conte, Laszlo Tordai, Michael

Ciminelli, and Brandon LaSage shall be conducted pursuant to the following schedule:

               1.     The deposition of Michael Ciminelli will commence on
                      June 7, 2022, at 10:00 a.m.;

               2.     The deposition of Stefanie Conte will commence on June 9,
                      2022, at 10:00 a.m.;
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              3.      The deposition of Brandon LaSage will commence on June
                      9, 2022, following the conclusion of Stefanie Conte’s
                      deposition; and

              4.      The deposition of Laszlo Tordai will commence on June
                      14, 2022, at 10:00 a.m.

These depositions must be conducted as scheduled and shall not be adjourned absent

further Order from the Court. It is further

              ORDERED, that the City Defendants are directed to reimburse plaintiff the

agreed-upon amount as reflected in the April 19, 2022 letter on or before May 2, 2022.

IT IS SO ORDERED.



                                                               s/Marian W. Payson
                                                             MARIAN W. PAYSON
                                                           United States Magistrate Judge

Dated: Rochester, New York
       April 19, 2022




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